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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

LOST LAKE HOLDINGS LLC et al.

Plaintiffs,

ve Civ. Action No. 7:22-cv-10656
TOWN OF FORESTBURGH. et al.

Defendants.

DECLARATION OF MORDECHAI HALBERSTAM

Mordechai Halberstam declares as follows, pursuant to 28 U.S.C. § 1746:

1. I have personal knowledge of the facts set forth herein.

2. I am over the age of cighteen (18) and competent to testify in a court of law.

ai I respectfully submit this Declaration in support of the Plaintiffs’ Motion for
Preliminary Injunction being filed contemporancously with the same.

4. I am a Hasidic Orthodox Jew.

s I am the President of the Plaintiff Lost Lake Holdings LLC.

6. I am the President of the Plaintiff Mishconos Mazah LLC.

7. I intend to purchase a home with my wife, who is also a Hasidic Orthodox Jew, in
Phase | of the Lost Lake Project. We will reside there, along with other members of
our family.

8. I also have relatives who intend to purchase homes in the Lost Lake Project.
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I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on MayJ/ , 2023

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